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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENMEMMZ va 3= 22

WESTERN DIVISION mo§§§g§§ {MLD
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UNITED STATES OF AMERICA, JUDGMENT IN A CIVIL CASE
Plaintiff,
V.
FIFTY THOUSAND DOLLARS CASE NO: Z:OS-ZSGS-B

($50,000.00) in U.S. Funds,

Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS S() ORDERED AND ADJUDGED that in accordance With the Consent Order entered
on August 11, 2005, this cause is hereby dismissed With prejudice.

 

 

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ED STATES DISTRICT COURT
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Date Clerk of Court

(By) Deputy Cleré

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02568 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

